Case 2:06-cr-20663-AC-DAS ECF No. 132, PageID.374 Filed 07/23/07 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,                      CRIMINAL NO. 06-20663

v.                                           HONORABLE AVERN COHN

D-16, RASHAWN SIMMONS,

             Defendant.
                                      /


                                ORDER REVOKING BOND

      On July 23, 2007 the Court held a bond review hearing in this matter. For the

reasons stated on the record,

      IT IS HEREBY ORDERED that the bond is REVOKED.

      IT IS FURTHER ORDERED that the defendant be remanded to the custody of the

United States Marshal forthwith.

      SO ORDERED.



Dated: July 23, 2007                      s/ Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE
